         IT IS FURTHER  IN ORDERED
                           THE UNITED thatSTATES
                                           the application and this
                                                    DISTRICT        Order are sealed until
                                                                COURT
                            SOUTHERN DISTRICT OF INDIANA
  otherwise ordered by the Court. INDIANAPOLIS DIVISION

 JON KIDD,                                          )
  IT IS SO ORDERED                                  )
                        Plaintiff,                  )
                                                    )
                v.                                  )
             Date: 1/27/2017                        ) CASE NO. 1:20-cv-02692-TWP-MPB
 MARATHON MANAGEMENT SERVICES,                      ) ________________________
 LLC,                                               ) Hon. Tanya Walton Pratt, Judge
                                                    ) United States District Court
                        Defendant.                  )
                                                      Southern District of Indiana
                            ORDER OF DISMISSAL WITH PREJUDICE

        The parties, having filed their Stipulation of Dismissal with Prejudice, and the Court, being

duly advised, hereby APPROVES the Stipulation and hereby Orders this cause of action

DISMISSED, in its entirety and with prejudice. Each party to bear its own costs and attorneys’

fees.


        Date: 4/16/2021




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    Distribution to all electronically
    registered counsel of record via
    CM/ECF
